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   1 DAWYN R. HARRISON, Interim County Counsel
     STARR COLEMAN, Assistant County Counsel
   2 THOMAS R. PARKER, Senior Deputy County Counsel
     (SBN 141835) • TParker@counsel.lacounty.gov
   3 648 Kenneth Hahn Hall of Administration
     500 West Temple Street
   4 Los Angeles, California 90012-2713
     Telephone: (213) 974-1834 ꞏ Fax: (213) 613-4751
   5
     Attorneys for CLARK R. TAYLOR,
   6 AICP, THE LOS ANGELES COUNTY
     DEPARTMENT OF REGIONAL
   7 PLANNING
   8
   9                              UNITED STATES DISTRICT COURT
  10                            CENTRAL DISTRICT OF CALIFORNIA
  11
  12 CLINTON BROWN,                             CASE NO. 2:22-cv-09203-MEMF-KS
  13                     Plaintiff,             DEFENDANT'S ANSWER TO
                                                CIVIL RIGHTS COMPLAINT
  14            v.                              PURSUANT TO 42 U.S.C. § 1983
                                                (NON-PRISONERS)
  15 CLARK R. TAYLOR, AICP, THE
     LOS ANGELES COUNTY                         Assigned to Hon. Maame Ewusi-
  16 DEPARTMENT OF REGIONAL                                 Mensah Frimpong
     PLANNING,
  17                                            Magistrate Judge Karen L. Stevenson
               Defendant.
  18                                            Action Filed:     December 17, 2022
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       HOA.103999468.2
                                                                2;22-cv-09203-MEMF-KS
       Defendant's Answer to Civil Rights
       Complaint
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   1        DEFENDANT CLARK R. TAYLOR, THROUGH HIS COUNSEL, hereby
   2 answers the complaint of Plaintiff Clinton Brown (hereinafter "Plaintiff") as set
   3 forth below. Defendant Clark R. Taylor (hereinafter "Defendant") notes, as a
   4 preliminary matter, that Plaintiff provides factual allegations in a manner making it
   5 difficult to respond to in a clear and precise manner. Defendant, therefore, will
   6 respond by reference to page number and lines where specific factual allegations are
   7 presented by Plaintiff in his complaint.
   8        1.     "I. JURISDICTION"
   9 Page 1, lines 23-24: Defendant hereby admits to the jurisdiction of this Court as set
  10 forth therein.
  11 Page 1, lines 26-28, Page 2, lines 1-7: Defendant denies as the statements are only
  12 statements of generic law without any factual allegations therein.
  13        2.     "II. VENUE"
  14 Page 2, lines 10-11: Defendant hereby admits that venue is proper.
  15        3.     "III. PARTIES"
  16 Page 2, lines 14-15: 17-20, 22-23, 25-26,28, Defendant admits. Page 3, lines 1-4:
  17 Defendant denies on the basis that the allegations are only legal conclusions of
  18 Plaintiff.
  19        4.     "IV. STATEMENT OF FACTS"
  20 Page 3, lines 7-10: Defendant admits except with regard to the claimed "32.4 acres"
  21 amount of land held by Plaintiff. Defendant denies this allegation regarding the size
  22 of Plaintiff's property based on the County of Los Angeles ("County") records
  23 showing only 27.34 acres. Page 3, lines 10-11: Defendant denies for lack of
  24 information regarding receipt of a solar manual dated May 2018. Page 3, lines 11-
  25 14: Defendant admits. Page 3, lines 14-21: Defendant admits. Page 3, lines 21-22:
  26 Defendant admits. Page 3, lines 22-24: Defendant admits. Page 3, lines 26-28,
  27 Page 4, lines 1-2: Defendant admits. Page 4, lines 6-10, 12-19: Defendant admits.
  28 Page 4, lines 21-23: Defendant denies on the basis of lack of information. Page 4,
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   1 lines 23-25: Defendant admits. Page 4, lines 25-28: Defendant denies for lack of
   2 information. Page 5, lines 2-6: Defendant denies due a lack of specific factual
   3 allegations specific to this matter, only a philosophical statement and legal
   4 conclusion. Page 5, lines 8-13: Defendant denies as Plaintiff alleges only legal
   5 conclusions.
   6            5.       "V. CLAIMS" and "CLAIM#1"
   7 Page 5, lines 17-21: Defendant denies the alleged harm to Plaintiff. Page 5, lines
   8 23-28, Page 6, lines 1-28, Page 7, lines 1-5: Defendant denies based on the lack of
   9 any alleged facts to respond to, only legal arguments.
  10                                    AFFIRMATIVE DEFENSES
  11            1.       Defendant and the County's agents, officers or employees are immune
  12 from liability, pursuant to Government Code sections 810 et. seq, including but not
  13 limited to sections 815, 815.2, 818, 818.2, 818.8, 820, 820.2, 820.4, 820.6, 820.8,
  14 821, 821.6, 821.8, 822.2, 844.6, 845.6, 845.8, 846, and 847.
  15            2.       Plaintiff did not name the appropriate and necessary party as a
  16 defendant, pursuant to Federal Rules of Civil Procedure Rule 19, County.
  17            3.       Plaintiff did not serve the County with this legal action.
  18            4.       Plaintiff failed to comply with the applicable provisions of the
  19 California Government Tort Claims Act at Government Code sections 905 et seq.
  20 and Los Angeles County Code Title 4, Chapter 4.04 prior to filing this legal action.
  21            5.       Plaintiff fails to allege facts sufficient to constitute a cause of action.
  22            6.       Plaintiff took title to his property with a prior executed and recorded
  23 open space dedication document prohibiting the placement of structures on
  24 Plaintiff's property.
  25            7.       Plaintiff has no reasonable investor expectations to place solar facilities
  26 on his property.
  27            8.       Plaintiff has not lost most or all of possible use of his property under
  28 applicable land use regulations.
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   1            WHEREFORE, Defendant prays that:
   2            1.       Find that Plaintiff has neither suffered any constitutional inverse
   3 condemnation damages nor been the subject of such actions.
   4            2.       Deny any relief to Plaintiff.
   5            3.       Grant Defendant such other and further relief as the Court deems just
   6 and proper.
   7 DATED: January 30, 2023                       Respectfully submitted,
   8
                                                   DAWYN R. HARRISON
   9                                               Interim County Counsel
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  11
                                                   By
  12
                                                               THOMAS R. PARKER
  13                                                           Senior Deputy County Counsel
  14                                               Attorneys for CLARK R. BROWN, AICP,
  15                                               THE LOS ANGELES COUNTY
                                                   DEPARTMENT OF REGIONAL
  16                                               PLANNING
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   1                                       PROOF OF SERVICE
                                   Case No. 2:22-cv-09203-MEMF-KS
   2
       STATE OF CALIFORNIA, County of Los Angeles:
   3
            Mark Zamora states: I am employed in the County of Los Angeles, State of
   4 California, over the age of eighteen years and not a party to the within action. My
     business address is 648 Kenneth Hahn Hall of Administration, 500 West Temple
   5 Street, Los Angeles, California 90012-2713
   6            That on January 30, 2023, I served the attached
   7            DEFENDANT'S ANSWER TO CIVIL RIGHTS COMPLAINT
                PURSUANT TO 42 U.S.C. § 1983 (NON-PRISONERS)
   8
     upon Interested Party(ies) by placing  the original  a true copy thereof
   9 enclosed in a sealed envelope addressed  as follows  as stated on the attached
     service list:
  10
                    Clinton Brown
  11                16821 Edgar Street
                    Pacific Palisades, California 90272
  12
            By United States mail. I enclosed the documents in a sealed envelope
  13       or package addressed to the persons at the addresses on the attached service
           list (specify one):
  14
           (1) deposited the sealed envelope with the United States Postal Service,
  15               with the postage fully prepaid.
  16            (2) placed the envelope for collection and mailing, following ordinary
                     business practices. I am readily familiar with this business's practice
  17                 for collecting and processing correspondence for mailing. On the same
                     day that correspondence is placed for collection and mailing, it is
  18                 deposited in the ordinary course of business with the United States
                     Postal Service, in a sealed envelope with postage fully prepaid.
  19
                         I am a resident or employed in the county where the mailing occurred.
  20                     The envelope or package was placed in the mail at Los Angeles,
                         California:
  21
            I declare that I am employed in the offices of a member of this court at whose
  22 direction the service was made.
  23            Executed on January 30, 2023, at Los Angeles, California.
  24
  25                     Mark Zamora                          Mark Michael G. Zamora
                   (NAME OF DECLARANT)                        (SIGNATURE OF DECLARANT)
  26
  27
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       HOA.103999468.2
